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The Honorable Robert S. Lasnik

 

 

 

IN THE UNITED DISTRICT COURT, WESTERN DISTRlCT OF WASH]NGTON
SEA"_[TLE
MICHAEL THOMAS, 7
' Case No. 2:15-cv-01309-RSL
Plaintiff,
'{'P'RO'POS'E'DT
v. ,
ORDER DIRECT]NG THE 1
GRE_EN TREE LOAN SERVICING LLC, COURT CLERK TO DISBURSE
y THE FUNDS lN THE COURT
Defendant(s). REGISTRY
Pursuani~- 10 LcR 7, LCR 10(g) ana LCR 67, the gamian motion af Plaimiir Michaei
Thomas, by and through his counsel of record and unopposed by Defendant Green Tree Loan

Servicing, LLC (“Green Tree”), and the court being fully advised, it is hereby
ORDEREI) _THAT the injunction entered on March 23, 2016 [Dl<t Noi 18] is released.
ORDERED that the clerk is authorized and directed to draw a check(s) on the funds
deposited in the registry of tl:lis court in the principal amount of 328,111.26 plus a11 accrued
interest, minus any statutory users fees, payable to Henry, DeGraatf & McConnick, PS and mail
or deliver the check to Henry, DeGraaff & McConnick, PS, Attn: Christina L Henry, 1833 N
105th st, ste 203, Seaale WA 98133.`

. a is 5€‘”
DATED this -day of September 2017

WS{M

United States District Court Judge Robert S Lasnil<

[PROPOSED] - 1 HENRY, DEGRAAFF & McConmcK, P.S.
1333 N 105m sr SUiTi# 203 "'
SE.Ai 11E, WA 98133
telephone (206)" z 30 0595
fm 1 (206) 400-1609

 

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Presented by:

/S/ Christina L Henrv
By: Christina L Henry, WSBA # 31273
HENRY, DEGRAAFF & MCCORl\/HCK, PS
Attolney for Plajntiff Michael Thomas

/S/ Jacob DeGma;?f
By: Jacob DeGraatT, WSBA #36713
HENRY, DEGRAAFF & MCCORMICK, PS
Attorney for Plaintiff Michael 'l`holnas

Stipulated and Agreed to By:

/S/ William Fz',q
By: Williarn Fig, WSBA # 33943
Sussman Shank LLP

Attorney for Defendant Green Tree Servicing, LLC

 

 

- 2 HEN'RY, DEGRAAFF & MCCORMICK, P.s.
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